                                                                            EXHIBIT F

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

JANE DOE                                         §
     Plaintiff                                   §
                                                 §
VS.                                              § CIVIL ACTION NO. 7:19-CV-00309
                                                 § (JURY REQUESTED)
                                                 §
EDINBURG CONSOLIDATED                            §
INDEPENDENT SCHOOL DISTRICT                      §
     Defendant                                   §


 DEFENDANT’S EDINBURG CONSOLIDATED INDEPENDENT SCHOOL DISTRICT
 SUPPLEMENTAL RESPONSES TO PLAINTIFF’S SECOND SET OF REQUEST FOR
                                PRODUCTION
_____________________________________________________________________________

To:    Plaintiff by and through her attorney of record:

       Anthony G. Buzbee
       Cornelia Brandfield-Harvey
       The Buzbee Law Firm
       600 Travis, Suite 7300
       Houston, Texas 77002

       COMES      NOW,      EDINBURG         CONSOLIDATED        INDEPENDENT         SCHOOL

DISTRICT, Defendant in the above-styled and numbered cause and pursuant to Rule 196 of the

Texas Rules of Civil Procedure attached hereto makes the following supplemental responses and

objections to Plaintiff’s Second Set of Request for Production. Defendant reserves the right to

supplement, modify or amend the information provided below.

       Signed on February 25, 2020.
                                            Respectfully submitted,

                                            ESPARZA & GARZA, L.L.P.
                                            964 E. Los Ebanos
                                            Brownsville, Texas 78520
                                            Telephone: (956) 547-7775
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                                            By: /s/ Eduardo G Garza_________
                                                    Eduardo G Garza
                                                    State Bar No. 00796609
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                                                    Roman “Dino” Esparza
                                                    State Bar No. 00795337
                                                    dino@esparzagarza.com
                                                    Attorneys for Defendant

                               CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that on February 25, 2020, a true and correct copy of
the foregoing Defendant’s Edinburg Consolidated Independent School District
Supplemental Responses to Plaintiff’s Second Set of Request for Production has been served
on all attorneys of record as noted below:

Via E-Mail
Anthony G. Buzbee
Cornelia Brandfield-Harvey
The Buzbee Law Firm
600 Travis, Suite 7300
Houston, Texas 77002

Via E-Mail
Aaron I. Vela
Law Office of Aaron I. Vela, P.C.
200 East Cano
Edinburg, Texas 78539


                                            By: /s/ Eduardo G Garza____
                                                    Eduardo G Garza
  SUPPLEMENTAL RESPONSES TO SECOND REQUESTS FOR PRODUCTION TO
                   DEFENDANT EDINBURG CISD



28.    The affidavit provided to Ms. Culberson and/or an officer regarding Badillo’s
       inappropriate conduct towards another female student in 2017.

RESPONSE:
Please see Exhibit N.
